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8     ACQUISITION MANAGEMENT, INC.
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10
                                UNITED STATES DISTRICT COURT

11
                            CENTRAL DISTRICT OF CALIFORNIA

12
      ACQUISITION MANAGEMENT, INC.,                 Case No.: 2:19-CV-06814-DFS-KS
13
                                                    REDACTED
                   Plaintiff,
14                                                  FIRST AMENDED COMPLAINT
      vs.                                           FOR:
15

16
      RETREAVER, INC., and DOES 1-5,                1. TRADEMARK INFRINGEMENT –
      inclusive,                                    15 U.S.C. § 1114;
17                                                  2. FALSE DESIGNATION OF
18
                   Defendants.                      ORIGIN – 15 U.S.C. § 1125;
                                                    3. TRADEMARK DILUTION – 15
19                                                  U.S.C. § 1125(c);
20                                                  4. TRADEMARK DILUTION – Cal.
                                                    Bus. & Prof. Code § 14247;
21                                                  5. UNFAIR COMPETITION – Cal.
22                                                  Bus. & Prof. Code § 17200 et seq.; AND
                                                    6. DEFAMATION – Cal. Civ. Code §46
23

24                                                  DEMAND FOR JURY TRIAL
25

26    Plaintiff ACQUISITION MANAGEMENT (“ACQUISITION”), by its attorneys, and

27    for its First Amended Complaint against Defendant RETREAVER (“RETREAVER”)

28    and Does 1-5 (“Does”) (collectively “Defendants”), alleges as follows:
                                   FIRST AMENDED COMPLAINT - 1
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1                                JURISDICTION AND VENUE
2           1.     ACQUISITION files this action for trademark infringement, false
3     designation of origin, and trademark dilution under the Lanham Trademark Act of 1946,
4     15 U.S.C. § 1051 et seq. (the “Lanham Act”), and related claims of declaratory judgment
5     under Federal law, as well as unfair competition and trademark dilution pursuant to
6     California law. This Court has subject matter jurisdiction over the Federal trademark
7     infringement, false designation of origin and false advertising, and trademark dilution
8     claims pursuant to 28 U.S.C. § 1121(a), 1331, 1338(a).
9           2.     This Court has supplemental subject matter jurisdiction over the remaining
10    claims pursuant to 28 U.S.C. § 1367 as those claims arise from and are related to the
11    same set of facts as ACQUISITION’s Federal claims.
12          3.     This Court has personal jurisdiction over Defendants based on the fact that
13    Defendants conduct business within this Judicial District, and some of the acts
14    complained of occurred within this Judicial District.
15          4.     This Court has personal jurisdiction over Defendants, in part, because, on
16    information and belief, Defendants maintain an address in San Francisco, California.
17          5.     Upon information and belief, Defendant currently maintains an office or
18    place of business in San Francisco, California, and/or at least during the time in question
19    did maintain an office or place of business in San Francisco, CA.
20          6.     When Defendant’s name, “Retreaver”, is entered into a Google search,
21    from a California physical location, Defendant’s office in San Francisco, California is
22    identified. A true and correct screenshot showing the search results of “Retreaver” in
23    Google on October 21, 2019 is attached hereto as Exhibit A.
24          7.     Defendant availed itself of the benefits of the laws and protections of the
25    United States by consenting to jurisdiction in the United States in its Terms of Service,
26    available on its website, until September 7, 2019.
27          8.     Defendant amended its Terms of Service to remove references to the United
28    States on September 7, 2019, only after first being served with the initial Complaint in
                                  FIRST AMENDED COMPLAINT - 2
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1     this litigation.
2            9.     Upon information and belief, Defendant changed its Terms of Service as a
3     direct result of this litigation in an attempt to try to avoid being subject to personal
4     jurisdiction in the State of California.
5            10.    A true and correct copy of Defendant’s website Terms of Service prior to
6     September 7, 2019 is attached hereto as Exhibit B.
7            11.    A true and correct copy of Defendant’s website Terms of Service after
8     September 7, 2019 is attached hereto as Exhibit C.
9            12.    Defendant intentionally targeted and solicited California entities located in
10    California with which to do business.
11           13.    Because of the facts identified in paragraphs 3-12, Defendant is subject to
12    personal jurisdiction of this court.
13           14.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the
14    claims asserted in this action arise out of wrongful acts by Defendants within this
15    Judicial District and Defendants are subject to personal jurisdiction in this District at
16    least as of the time that this litigation was commenced.
17                                           THE PARTIES
18           15.     Plaintiff ACQUISITION is and at all times mentioned herein was a
19    corporation with its principal place of business located at 412 N Main St., Ste 100,
20    Buffalo, WY 82834.
21           16.    Upon information and belief, Defendant RETREAVER is, and at all times
22    herein mentioned was, a corporation duly organized and existing under the laws of
23    Canada, with its principal place of business in Toronto, Canada, that regularly conducts
24    business in the United States, including within this State and within this Judicial District.
25           17.    ACQUISITION is unaware of the true names and capacities of Defendants
26    sued herein as DOES 1 through 5, inclusive, and therefore sues these Defendants by
27    such fictitious names.      ACQUISITION will further amend this First Amended
28    Complaint to allege their true names and capacities when ascertained. ACQUISITION
                                   FIRST AMENDED COMPLAINT - 3
     Case 2:19-cv-06814-DSF-KS        Document 19-2    Filed 10/24/19   Page 4 of 18 Page ID
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1     is informed and believes and thereon alleges that each of the fictitiously named Does
2     Defendants is responsible in some manner for the wrongs alleged herein, that
3     ACQUISITION’s injuries were proximately caused by such Does Defendants, and that
4     at all relevant times each was the agent and servant of the other Defendants and was
5     acting within the course and scope of said agency and employment. These fictitiously
6     named Does Defendants, along with the Defendants named above, are referred to
7     collectively herein as “Defendants.”
8         FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
9                              A. ACQUISITION’s Trademark Rights
10          18.    ACQUISITION provides pay-per-call and telephone call data analytics
11    services to many consumers across the United States and in foreign countries.
12          19.    ACQUISITION is the owner of U.S. Trademark Registration No.
13    5,452,036 for RINGBA for “Cloud computing featuring software for use in sales and
14    marketing and call centers, namely, for use in providing management, monitoring,
15    reporting, marketing attribution, and analytics of telecommunication, Voice Over IP,
16    SMS Messaging, call routing, pay per call tracking, affiliate programs, affiliate tracking,
17    media buying, click arbitrage as well as compliance monitoring of publishers,
18    advertisers and affiliates; Software as a service (SAAS) services, namely, hosting
19    software for use by others for use in the field of sales, marketing and advertising, namely,
20    for use in providing management, monitoring, reporting, marketing attribution, and
21    analytics of telecommunication, Voice Over IP, SMS Messaging, call routing, pay per
22    call tracking, affiliate programs, affiliate tracking, media buying, click arbitrage as well
23    as compliance monitoring of publishers, advertisers and affiliates.” (hereinafter the
24    “RINGBA Mark”). The Trademark Registration Certificate of the RINGBA Mark is
25    attached hereto as Exhibit D.
26          20.    ACQUISITION began using the RINGBA Mark at least as early as June
27    10, 2015, first applied to register the RINGBA Mark with the U.S. Patent and Trademark
28    Office (“USPTO”) on September 8, 2017, and successfully Registered the RINGBA
                                  FIRST AMENDED COMPLAINT - 4
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1     Mark on April 24, 2018.         ACQUISITION had been using the RINGBA Mark
2     continuously in commerce since at least as early as June 10, 2015
3           21.    During ACQUISITION’s past four and a half years of continuous use, the
4     RINGBA Mark has served as ACQUISITION’s signature identifier that distinguishes
5     and differentiates it from other pay-per-call and telephone call data analytics services in
6     the market, which is very crowded because the technology for fast, efficient call-routing
7     is becoming more available. ACQUISITION has used the RINGBA Mark at all times
8     both before and since registering the RINGBA Mark in connection with its sales,
9     promotional, and advertising efforts. Such uses include prominently featuring the
10    RINGBA Mark at trade shows, social media, online advertisements, business cards,
11    banners, and its website (https://www.ringba.com).           ACQUISITION has spent
12    substantial amounts of funds in connection with these efforts over the years. Examples
13    of ACQUISITION’s use of the RINGBA Mark are attached hereto as Exhibit E.
14          22.    ACQUISITION has also used the RINGBA Mark in connection with its
15    active involvement in informational blog posting both on its website and social media.
16          23.    As a result of these efforts, ACQUISITION’s customers and the pay-per-
17    call and telephone call data analytics services industry in general have come to associate
18    the RINGBA Mark exclusively with ACQUISITION and recognize ACQUISITION as
19    an established and successful pay-per-call and telephone call data analytics services.
20    The RINGBA Mark and the goodwill associated therewith is thus a valuable asset of
21    ACQUISITION and a primary marker of the source and origin of ACQUISITION’s
22    services.
23            B. Defendants’ Actions Infringe ACQUISITION’s Trademark Rights
24          24.    RETREAVER offers pay-per-call and telephone call data analytics
25    services. Some of these services include analyzing inbound phone calls for information
26    including caller location, agent matching, conversation recordation, and outcome
27    tracking.
28          25.    RETREAVER is a competitor of ACQUISITION.
                                  FIRST AMENDED COMPLAINT - 5
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1           26.    www.Google.com (“Google”) offers an advertising system in which
2     advertisers bid on certain keywords in order for their clickable ads to appear in Google’s
3     search results when an individual enters those certain keywords into a Google Search.
4     This advertising system is known as Google AdWords.
5           27.    For a period of time unknown to ACQUISITION, RETREAVER purchased
6     the word “RINGBA” in Google AdWords, such that when an individual would search
7     for “RINGBA” on Google, an advertisement and/or a link to RETREAVER’s Websites
8     would be the first results the individual would be shown.
9           28.    ACQUISITION brought RETREAVER’s purchase of RINGBA in Google
10    AdWords to Google’s attention, and Google removed said purchase of RINGBA in
11    Google AdWords by RETREAVER. Google also barred RETREAVER from future use
12    of the RINGBA Mark in RETREAVER’s purchases in Google AdWords.
13          29.    Despite the fact that Google barred RETREAVER from using the RINGBA
14    Mark in Google AdWords, RETREAVER continues to purchase new advertisements in
15    Google AdWords including the term RINGBA. Attached hereto as Exhibit F is a
16    screenshot showing the Google search results when the term RINGBA is entered.
17          30.    In essence, RETREAVER is using the RINGBA Mark to trick consumers
18    into visiting the RETREAVER Website when the consumer is searching for
19    ACQUISITION’s services offered under the RINGBA Mark.
20          31.    In addition to purchasing the term RINGBA in Google Adwords,
21    RETREAVER also directly uses the RINGBA Mark in its advertisements.
22          32.    With the intent of deceiving consumers, RETREAVER uses the RINGBA
23    Mark as the first word in its advertisement, and utterly fails to mention RETREAVER
24    or its products directly in the heading of its own sponsored ads, as follows (“the
25    Infringing Advertisement”):
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                                  FIRST AMENDED COMPLAINT - 6
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5           33.    RETREAVER is, and was, aware that the brand awareness associated with
6     RETREAVER and its services is not as high as those services offered under the
7     RINGBA Mark.
8           34.    Because, at least, of the actions taken by Google that barred RETREAVER
9     from purchasing the term RINGBA in Google AdWords, RETREAVER knew or should
10    have known that its use of the RINGBA Mark without permission was wrongful.
11          35.    Upon information and belief, by RETREAVER’s purchase of the term
12    RINGBA in Google AdWords and the use of RINGBA as a primary feature of its
13    Infringing   Advertisement,    RETREAVER       has   increased   internet   traffic   to
14    RETREAVER’s websites, and has increased sales, by taking advantage of the
15    substantial investments made by ACQUISITION in its RINGBA Mark and related
16    advertising campaigns.
17          36.    Defendants have never requested ACQUISITION’s permission to use the
18    RINGBA Mark, and ACQUISITION has never authorized Defendants to do so. As
19    such, Defendants’ use of the RINGBA Mark is in complete disregard of
20    ACQUISITION’s rights to control the RINGBA Mark.
21       C. Defendant Solicited California Customers, And Intentionally Defamed
22          ACQUISITION In The Process
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                                 FIRST AMENDED COMPLAINT - 7
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                                 FIRST AMENDED COMPLAINT - 8
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                                 FIRST AMENDED COMPLAINT - 9
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                             FIRST AMENDED COMPLAINT - 10
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3                                FIRST CLAIM FOR RELIEF
4                       (Trademark Infringement – 15 U.S.C. § 1114)
5          78.    ACQUISITION incorporates herein by reference the allegations of the
6    preceding paragraphs as though fully set forth herein.
7          79.    Defendants have wrongfully used and are continuing to use the RINGBA
8    Mark to promote, market, advertise, and sell their services, which are very similar to the
9    services offered in conjunction with the RINGBA Mark.
10         80.    Defendants’ wrongful use of the RINGBA Mark is likely to cause, has
11   caused, and will likely continue to confuse and misdirect ACQUISITION’s customers
12   and the consuming public. By appropriating ACQUISITION’s RINGBA Mark to
13   advertise competitive services in the same market in which ACQUISITION has done
14   business using the RINGBA Mark for several years, it is highly likely that the public
15   will perceive Defendants’ use as authorized, sponsored, licensed, or approved by
16   ACQUISITION, or otherwise affiliated, associated, or connected with ACQUISITION’s
17   commercial and business activities.
18         81.    Defendants have acted with knowledge of ACQUISITION’s ownership of
19   the RINGBA Mark and with deliberate intention or willful blindness to unfairly reap the
20   benefit of ACQUISITION’s goodwill associated with the RINGBA Mark.
21         82.    Defendants’ conduct constitutes willful and exceptional trademark
22   infringement in violation of the Lanham Act.
23         83.    ACQUISITION is informed and believes and thereon alleges that
24   Defendants have generated and will continue to generate substantial profits and gains to
25   which they are not entitled in law or equity unless enjoined by this Court.
26         84.    Defendants’ conduct has injured and, unless restrained, will continue to
27   injure ACQUISITION, causing damage to ACQUISITION in an amount to be proven
28   at trial, as well as irreparable injury to the goodwill and reputation associated with the
                                FIRST AMENDED COMPLAINT - 11
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1    RINGBA Mark. ACQUISITION has no adequate remedy at law.
2                                SECOND CLAIM FOR RELIEF
3                          (False Designation of Origin– 15 U.S.C. § 1125)
4          85.    ACQUISITION incorporates herein by reference the allegations of the
5    preceding paragraphs as though fully set forth herein.
6          86.    The inherently distinctive quality of ACQUISITION’s RINGBA Mark, has
7    achieved a high level of consumer recognition and serves to identify and distinguish
8    ACQUISITION as a business offering high-quality pay-per-call and telephone call data
9    analytics services.
10         87.    Defendants’ use of the RINGBA Mark to promote, advertise, market, and
11   sell their services, in the primary market for ACQUISITION - the internet - is intended
12   and is likely to cause confusion, mistake, and deception among consumers and the public
13   as to the source, origin, sponsorship, or affiliation of Defendants’ services, and is
14   intended, and is likely to cause consumers and the public to mistakenly believe that
15   Defendants’ services have been authorized, sponsored, licensed, or approved by
16   ACQUISITION, or are otherwise affiliated, associated, or connected with
17   ACQUISITION.
18         88.    Defendants have acted in complete disregard of ACQUISITION’s right to
19   control the RINGBA Mark, and their conduct constitutes false designation of origin in
20   violation of the Lanham Act.
21         89.    Defendants’ conduct has injured and, unless restrained, will continue to
22   injure ACQUISITION, causing damage to ACQUISITION in an amount to be proven
23   at trial, as well as irreparable injury to the goodwill and reputation associated with the
24   Mark. ACQUISITION has no adequate remedy at law
25                                THIRD CLAIM FOR RELIEF
26                          (Trademark Dilution – 15 U.S.C. § 1125(c))
27         90.     ACQUISITION incorporates herein by reference the allegations of the
28   preceding paragraphs as though fully set forth herein.
                                  FIRST AMENDED COMPLAINT - 12
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1          91.   ACQUISITION has used the RINGBA Mark continuously for over four
2    years. During this time, the RINGBA Mark, has achieved substantial public recognition
3    among the public in the pay-per-call and telephone call data analytics marketplace and
4    is thus “famous” within that market.
5          92.   Defendants have used in commerce in connection with the sale of their
6    services the protected RINGBA Mark, which is likely to cause, and likely has caused
7    actual confusion or mistake as to the affiliation, connection, or association between
8    Defendants and ACQUISITION, or as to the source, origin, sponsorship, or affiliation
9    of Defendants’ products and serviced by ACQUISITION.
10         93.   ACQUISITION is informed and believes that Defendants’ conduct began
11   long after the RINGBA Mark became famous in its market and that Defendants have
12   acted deliberately, willfully, and knowingly, with blatant disregard for the rights of
13   ACQUISITION, as evidenced by its use of the Registered Trademark and over four
14   years of usage.
15         94.   Defendants’ conduct has diluted and continues to dilute the unique and
16   distinctive RINGBA Mark. Such conduct violates the Lanham Act, has injured and,
17   unless restrained, will continue to injure ACQUISITION, causing damage to
18   ACQUISITION in an amount to be proven at trial, as well as irreparable injury to the
19   goodwill and reputation associated with the RINGBA Mark. ACQUISITION has no
20   adequate remedy at law.
21                             FOURTH CLAIM FOR RELIEF
22                 (Trademark Dilution – Cal. Bus. & Prof. Code § 14247)
23         95.   ACQUISITION incorporates herein by reference the allegations of the
24   preceding paragraphs as though fully set forth herein.
25         96.   The RINGBA Mark is distinctive in the pay-per-call and telephone call data
26   analytics market by virtue of its inherent and acquired distinctiveness, ACQUISITION’s
27   popularity, its widespread use in the market, and the extensive advertising and
28   promotional activity ACQUISITION has conducted.
                               FIRST AMENDED COMPLAINT - 13
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1          97.    As a result of the inherent and acquired distinctiveness of the RINGBA
2    Mark, ACQUISITION’s popularity, its widespread use in the market, and the extensive
3    advertising and promotional activity ACQUISITION has conducted, the RINGBA Mark
4    has come to be widely recognized by the consuming public as the primary designation
5    of ACQUISITION’s services.
6          98.    Defendants’ conduct constitutes dilution of the RINGBA Mark and injury
7    to ACQUISITION’s business reputation in violation of California Business and
8    Professions Code § 14247.
9          99.    ACQUISITION is informed and believes that Defendants’ conduct began
10   long after the RINGBA Mark became famous in the pay-per-call and telephone call data
11   analytics market and that Defendants have acted deliberately, willfully, and knowingly.
12         100. As a proximate result of Defendants’ conduct, ACQUISITION has been
13   damaged, and will continue to be damaged unless Defendants are enjoined under
14   California Business and Professions Code Section 14247 from using that which is
15   protected by the RINGBA Mark. ACQUISITION has no adequate remedy at law for
16   said damage.
17         101. Defendants’ conduct was and is extreme, outrageous, and was undertaken
18   in reckless disregard of ACQUISITION’s rights, as evidenced, inter alia, by its
19   Registered Trademark. Such conduct supports an award of exemplary and punitive
20   damages in an amount sufficient to punish and make an example of Defendants and to
21   deter them from similar conduct in the future.
22                               FIFTH CLAIM FOR RELIEF
23               (Unfair Competition – Cal. Bus. & Prof. Code § 17200 et seq.)
24         102. ACQUISITION incorporates herein by reference the allegations of the
25   preceding paragraphs as though fully set forth herein.
26         103. ACQUISITION owns and enjoys common law trademark rights to the
27   RINGBA Mark, in addition to the rights conferred to it by virtue of U.S. Trademark
28   Registration No. 5,452,036, throughout the United States.
                               FIRST AMENDED COMPLAINT - 14
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1          104. Defendants’ conduct in appropriating the RINGBA Mark, for their own use
2    and benefit, in complete disregard of ACQUISITION’s rights and at ACQUISITION’s
3    expense, is unlawful, unfair, and thus constitutes unfair competition pursuant to
4    California Business and Professions Code § 17200.
5          105. As a proximate result of Defendants’ conduct, ACQUISITION has been
6    damaged, and will continue to be damaged unless Defendants are enjoined from using
7    the RINGBA Mark. ACQUISITION has no adequate remedy at law for said damage.
8          106. Defendants’ conduct was extreme, outrageous, and was undertaken in
9    reckless disregard of ACQUISITION’s rights. Such conduct supports an award of
10   exemplary and punitive damages in an amount sufficient to punish and make an example
11   of Defendants and to deter them from similar conduct in the future.
12                               SIXTH CLAIM FOR RELIEF
13                                       (Defamation)
14         107. ACQUISITION incorporates herein by reference the allegations of the
15   preceding paragraphs as though fully set forth herein.
16         108. Defendant made statements about ACQUISITION to California Entity.
17         109. California Entity reasonably understood that the statements were about
18   ACQUISITION.
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26         111. Defendant failed to use reasonable care to determine the truth or falsity of
27   the statements.
28         112. Indeed, Defendant was aware that the statements identified in Section C
                               FIRST AMENDED COMPLAINT - 15
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1    hereinabove were false.
2           113. Defendant’s actions caused harm to ACQUISITION’s business, trade, and
3    profession.
4           114. Upon information and belief, Defendant has made statements similar or
5    identical to those in Section C to other entities, of which ACQUISITION is currently
6    unaware.
7           115. As a result of Defendant’s defamatory actions, ACQUISITION has been
8    forced to pay a number of expenses, including repairing its reputation with third-parties
9    and this litigation.
10          116. As a proximate result of Defendants’ conduct, ACQUISITION has been
11   damaged, and will continue to be damaged unless Defendants are enjoined from
12   defaming ACQUISITION. ACQUISITION has no adequate remedy at law for said
13   damage.
14          117. Defendants’ conduct was extreme, outrageous, and was undertaken in
15   reckless disregard of ACQUISITION’s rights. Such conduct supports an award of
16   exemplary and punitive damages in an amount sufficient to punish and make an example
17   of Defendants and to deter them from similar conduct in the future.
18                                   PRAYER FOR RELIEF
19          WHEREFORE, ACQUISITION prays for judgment against Defendants as
20   follows:
21          1.     Granting preliminary and permanent injunctive relief restraining and
22   enjoining Defendants, their officers, agents, employees, attorneys, and all those
23   persons or entities in participation or concert with them from:
24                 (a) Using the RINGBA Mark or any other elements of the RINGBA
25                    Mark, or any confusingly similar item, to sell, offer for sale, advertise,
26                    promote, or market its services;
27                 (b) Engaging in any other conduct which falsely represents or has the
28                    effect of falsely representing that Defendants’ services are licensed by,
                                 FIRST AMENDED COMPLAINT - 16
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1                      authorized by, produced by, sponsored by, or in any other way
2                      associated with ACQUISITION;
3                 (c) Engaging in any other conduct which falsely represents
4                      ACQUISITION to third-parties;
5                 (d) Engaging in any other conduct constituting unfair competition with
6                      ACQUISITION, or acts or practices that deceive consumers or the
7                      public as to the source or origin of the RINGBA Mark or any other
8                      elements associated with the Mark;
9                 (e) Engaging in any other conduct that will dilute the distinctiveness and
10                     uniqueness of the RINGBA Mark;
11         2.     Ordering Defendants to deliver to ACQUISITION for destruction and/or
12   certify that Defendants themselves have destroyed any and all advertising,
13   promotional, and marketing materials or the like in their possession, custody, or
14   control that Defendants have used or have the ability in the future to use in violation of
15   ACQUISITION’s Trademark Rights;
16         3.     Ordering Defendants to file with this Court and serve on ACQUISITION
17   within thirty (30) days after entry of the injunction a report in writing under oath
18   setting forth in detail the manner and form in which Defendants have complied with
19   the injunction;
20         4.     Ordering Defendants to provide an accounting to ACQUISITION for any
21   and all profits, gains, and advantages derived by their unlawful acts complained of
22   herein;
23         5.     Awarding ACQUISITION all of Defendants’ profits and all damages
24   sustained by ACQUISITION as a result of Defendants’ unlawful acts complained of
25   herein, and such other compensatory damages as the Court determines to be fair and
26   appropriate pursuant to 15 U.S.C. § 1117(a);
27         6.     Awarding ACQUISITION treble damages in the amount of Defendants’
28   profits for willful and exceptional infringement pursuant to 15 U.S.C. § 1117(b);
                                 FIRST AMENDED COMPLAINT - 17
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1          7.     Awarding attorneys’ fees, as well as costs and disbursements, pursuant to
2    15 U.S.C. § 1117(b);
3          8.     Awarding ACQUISITION’s statutory damages pursuant to 15 U.S.C. §
4    1117(c);
5          9.     A declaratory judgment declaring that Defendants are not entitled to the
6    use of the RINGBA Mark.
7          10.    Awarding ACQUISITION punitive and exemplary damages sufficient to
8    penalize and make an example of Defendants and to deter them from similar such
9    conduct in the future;
10         11.    Such other and further relief as the Court deems just and proper.
11

12                                         HANKIN PATENT LAW, APC
13

14   Date: October 24, 2019                /Marc E. Hankin/
15                                         Marc E. Hankin
16                                         Attorney for PLAINTIFF,
17                                         ACQUISITION MANAGEMENT, INC.
18

19                               DEMAND FOR JURY TRIAL
20         ACQUISITION hereby demands a trial by jury of all issues so triable in this
21   action.
22

23                                         HANKIN PATENT LAW, APC
24

25   Date: October 24, 2019                /Marc E. Hankin/
26                                         Marc E. Hankin
27                                         Attorney for PLAINTIFF,
28                                         ACQUISITION MANAGEMENT, INC.
                               FIRST AMENDED COMPLAINT - 18
